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                                                                           FILED BY                    D.C .
                       U N IT ED ST A TE S D ISTR IC T C O U R T
                       SO U TH ER N D IST R IC T O F FLO R ID A                   Atls 26 2218
                                                                                STEVEN M .l-M suoqE
                                                                                 cLEnKU,s.D# s'c cT.
                                                                                s.o.ooFuA.FT,tm tlo.
  JA M E S W SC O TT
                 Plaintff
                                             C A SE I8-C V -6OI78-A LTO NA G A /SEL TZER
  VS

  EXPERIAN INFORM ATION
  SO LUT IO N S,IN C .;TR AN S UN IO N
  LLC;EQUIFAX,INC.;EQUIFAX
  IN FO R M A TIO N SER VIC ES,LL C
                 Defendants



          VNO PPOSED M OTIO N FOR EXTENSION O F TIM E TO RESPO ND
                       TO DEFEN D AN T 'S M O TIO N TO DISM ISS

          Pursuantto Southel'n DistrictofFloridaLocalRule 7.1.A.3,Plaintiff hereby filesits

  Unopposed M otion forExtension ofTime to Respond to theDefendant'sM otion to Dismiss,
  and in supportthereofstatesasfollows:
       1. On oraboutJuly 12,2018,Plaintiff filed a Second Am endedcomplaintin thiscourt.

          DefendantsfiledaMotiontoDismiss(12.(b)(6)onJuly27,2018.
          PlaintiffisaPro Se withouttheassistanceofParalegalsorany professionallegalteam .

          The response to theM otion to Dismissisdated forA ugust10,2018.

          Plaintiffseeksan extension oftime to adequately investigateand properly resptmd to the

          Defendant'sM otionto Dismissup to and including August24,2018.
       6. Defendants have indicated thatthey are notin opposition to extending the tim efor

          Plaintiff torespond totheirjointM otion toDismissupthroughandincluding
          A ugust24,2018.



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     7. Thisrequestforextension isreasonableunderthecircum stances,isnotsoughtforthe

         purposeofdelay,andwillnotprejudiceanyparty.
         W herefore,Plaintiffrespectfully requeststhe Courtto enteran Ordergranting an
  extension oftime forPlaintiffto respond to the M otion to Dismissup to and including

  A ugust24,2018.


                         LO CAL RULE 7.1(A)(3)CERTIFICATION
         PursuanttoLocalRule7.1(A)(3),undersignedPlaintiffcertifiesthathehasconferred
  with Defendants in agood faith effortto resolve theissuesin thismotion and theDefendants
  have indicated thatthey do notopposethereliefrequested.


  D ated:A ugust6,2018



                                                            Respectfully Submitted By,
                                                            Jam esW Scott
                                                            3457 Deercreek Palladian Circle
                                                            Deerfield Beach,Fl33442
                                                            954-540-0408 /Cell
                                                            Jwsscott777tàkgmail.com




                               CERTIFICATE OF SERVICE

          lhereby certify thaton August6,2018,lfiled the foregoing documentwith the Clerk of

  theCourt.Ialso certify thattheforegoing documentisbeing sentviacertified mailto

  Defendants.


                                                                      Jam es W Scott




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                                   SERV ICE LIST


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